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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                        Plaintiff,

                        v.                           Case No. 1:21-cr-00083 (TNM)

 BRANDON FELLOWS,

                        Defendant.


                                            ORDER

       The Government has filed many motions in limine. See ECF Nos. 56, 107, 110–11, 119-

20. Defendant has failed to oppose them, despite the Court’s repeated warnings at the June 22,

2023, Motion Hearing. Thus, Defendant has conceded those motions. See LCrR 47(b) (If a

party fails to oppose a motion, “the Court may treat the Motion as conceded.”); see, e.g., United

States v. Simmons, 431 F. Supp. 2d 38, 73–4 (D.D.C. 2006), aff’d sub nom. United States v.

McGill, 815 F.3d 846 (D.C. Cir. 2016) (granting Defendant’s motion as conceded).

       For these reasons, it is

       ORDERED that the Government’s [56] Motion to Admit Defendant’s Detention Hearing

Testimony at Trial is GRANTED;

       ORDERED that the Government’s [107] Motion Regarding Evidence About the Specific

Locations of U.S. Capitol Police Surveillance Cameras is GRANTED;

       ORDERED that the Government’s [110] Motion Regarding Cross-Examination of U.S.

Secret Service Witness is GRANTED;

       ORDERED that the Government’s [111] Motion to Preclude Evidence of and Reference

to the Defendant’s Bond Revocation and Detainment Pending Trial is GRANTED;
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       ORDERED that the Government [119] Motion to Preclude Argument and Evidence

About Alleged Law Enforcement Permissiveness or Inaction is GRANTED; and it is

       ORDERED that the Government’s [120] Motion Regarding Authentication and

Admissibility of Documentary, Photographic, and Video Evidence is GRANTED.

       SO ORDERED.


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Dated: July 17, 2023                            TREVOR N. McFADDEN, U.S.D.J.




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